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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, > CIVIL ACTION ACTION

PLAINTIFF,
CASE NO.: 05-1812 (RBW)
Vv.

HARLEY G. LAPPIN, DIRECTOR,
FEDERAL BUREAU OF PRISONS,

DEFENDANTS.

DECLARATION OF ALECIA S. SILLAH

I, the undersigned, Alecia S. Sillah, do hereby make the following unsworn

declaration, pertinent to the above-styled and numbered cause.

|!am a Senior Paralegal for the Federal Bureau of Prisons (Bureau), in Annapolis
Junction, Maryland. In this position, my responsibilities include processing Freedom
of Information Act (FOIA) requests, which entails determining what records are
being requested, identifying the location of those records, requesting records from
that office, or if 1 can access them directly, | retrieve the responsive records. This

declaration supplements my prior declaration dated October 7, 2008.

In searching for responsive records | understood that the request, 2003-08557,
sought copies of all documents showing all money paid by the Bureau of Prisons
for lawsuits and claims against it from the dates of January 1, 1996, through and
including July 31, 2003. In September 2006, | was contacted by Wilson Moorer, to

search for records in response to this request.

The only responsive records maintained in the Mid-Atlantic Regional Office include

litigation and tort claim setttements. All responsive records maintained by the Mid-
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Atlantic Regional Office are controlled by this office. No other records as described

in paragraph two are maintained by this office.

The only means of creating an accurate and complete list of responsive records
maintained in the Mid-Atlantic Regional Office, was to review the Mid-Atlantic
Regional Office’s Monthly Reports from January 1996 through July 2003. Each
monthly report provides the litigation and tort claim settlements paid to a
complainant/plaintiff. The monthly reports for the Mid-Atlantic Regional Office are
stored on the shared network drive and office shelving. Once | reviewed the
relevant monthly reports and identified the cases that were settled during the
requested time period, | searched the litigation files in the office for the specific
cases that | identified from the monthly reports that were likely to contain responsive
information. Because most of the files were archived, | requested the archived files
from the Federal Records Center, Washington National Records Center (archives)
located at 4205 Suitland Road, Suitland, Maryland 20746. Once | received the
boxes from archives, | searched and retrieved from each box the responsive

litigation and tort claim settlement files.

Based on my review of Mid-Atlantic Regional Office’s Monthly Reports from January
1996 through July 2003, | determined that all responsive claims maintained in the
Mid-Atlantic Regional Office had been identified and created a list of those identified
documents. The monthly reports and any relevant litigation files are the only source

that would reveal responsive documents maintained by Mid-Atlantic Regional Office.

Based on the list created as a result of my review of litigation and tort claim

settlements from January 1996 through July 2003, | retrieved and forwarded the

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responsive documents as described in my declaration, to Wilson Moorer in their

original form. | did not redact the documents or apply any exemptions.

| declare under the penalty of perjury and pursuant to 28 U.S.C. § 1746 that the

foregoing is true and correct to the best of my knowledge and belief.

Executed this 1° day of April of 2010.

Atenas Sllap

Alecia S. Sillah
Senior Paralegal
Annapolis Junction, MD

